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        jointly and severally due to the actions of the Defendants;

                          d. Award the Plaintiffs punitive damages in an amount not less than

        $10,000,000.00 in punitive damages.

                          e. Grant the Plaintiff pre-judgment and post-judgment interest;

                          f. Award the Plaintiff attorneys fees and suit expenses

   Tennessee common law;

                          g. Grant the Plaintiff all such further relief as the Court may deem just and

                              proper.

                   A JURY IS RESPECTFULLY DEMANDED TO TRY THESE ISSUES WHEN
                                            JOINED.

                                                 Respectfully submitted,

                                                 BERKLEY LAW FIRM PLLC

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                                          CERTIFICATE OF SERVICE
               The undersigned hereby certifies a copy of the foregoing has been served upon counsel for

        the defendants in the U.S. MaH, first class postage paid, or e-mail and properly addressed or hand­

        delivery to:


        Lauren L. Holloway, Esq.
        McAngus, Goudelock, & Cour.ie
        5350 Poplar Ave
        Memphis, TN 38119
        Via ECF
        Attorneys for Defendants



        This the 23rd day of December 2020.
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